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                     EXHIBIT K
                Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 2 of 35


         B O ,I E S,            S CH I LL ER                     &     F LE X N ER                    LL P
401 EAST LAS OLAS BOULEVARD• SUITE 1200 • FORT LAUDERDALE. FL 33301- 2211 • PH. 954.356.0011 • FAX 954.356.0022



                                                                                      Sigrid s. Mccawley, Esq.
                                                                                E-mail: smccawley@bsfllp.com

                                                   June 10, 2016

          VIA E-MAIL

          Laura A. Menninger, Esq.
          HADDON, MORGAN AND FOREMAN, P.C.
          150 East 10th Avenue
          Denver, Colorado 80203
          lmenninger@hrnflaw.com

                Re:     Giuffre v. Maxwell
                        Case No.15-cv-07433-RWS

         Dear Ms. Menninger:

                On behalf of the Plaintiff, Virginia Giuffre, documents, Bates-stamped GIUFFRE005607
         through GIUFFRE005613, are being produced pursuant to Defendant's Request for Production.
         Certain of the documents within this production have been designated as CONFIDENTIAL in
         accordance with your proposed Protective Order. Please treat these documents accordingly.

                This production consists solely of all data that is responsive to Defendant's various
         requests for production from Ms. Giuffre's iCloud account.

                Attached to this letter, please also find an updated privilege log.

                If you have any questions concerning the foregoing, or if there are any issues with the
         media, please do not hesitate to contact me at (954) 356-0011.


                                                               Sincerely,




         SSM:dk
         Enclosures




                                                  WWW.BSFLLP.COM
     Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 3 of 35


From:            Richards, Jason R.
To:              Robert Giuffre
Subject:         RE: Hi There
Date:            Wednesday, August 27, 2014 10:44:32 AM




Hi Jenna,

My suggestion is for you to do a Freedom of Information Act request (www.foia.gov) for the information
you are looking for because I am not able to release information (should there be any) from FBI
records. You need to include as many details as possible so they can focus and narrow the search.
Explain that you are looking for information related to your recovery as a victim of Ron Eppinger. The
process may take some time but it is the appropriate method for you to obtain any possible records
regarding your recovery. Hope this helps.

Best wishes,

Jason

-----Original Message-----
From: Robert Giuffre [mailto:robiejennag@icloud.com]
Sent: Wednesday, August 27, 2014 9:49 AM
To: Richards, Jason R.
Subject: Hi There

G'day Jason,

I know I am a pain in your rear right now and I don't want to be but I am so close to wrapping up an
era, just need a couple dates confirmed is all.

If you aren't sure about the dates which you have already said that's fine. I have turned the Wilton
Manors police dept upside down looking through records and come up w nada. What was your
acquaintance's name that took my statement about Ron Eppinger? Is it possible that it wasn't Wilton
Manors and maybe it was somewhere else?

I'm really racking my brain about this!! It would be a personal favor to me and I am so very much
appreciative of anything you might know!!

Thanks a lot mate!!

Jenna

Sent from my iPhone




                                                                                         GIUFFRE005607
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     Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 4 of 35


From:             Richards, Jason R.
To:               "robiejennag@icloud.com"
Subject:          Re: Hi There
Date:             Wednesday, August 27, 2014 10:50:27 AM




Feel free to reach out to me any time.
Take care.

Jason


----- Original Message -----
From: Robert Giuffre <robiejennag@icloud.com>
To: Richards, Jason R.
Sent: Wed Aug 27 10:46:50 2014
Subject: Re: Hi There

Thank you Jason. I hope all has been well for you and yours!

All the best, I won't bother you again.

Jenna

Sent from my iPhone

> On Aug 27, 2014, at 10:44 AM, "Richards, Jason R." <Jason.Richards2@ic.fbi.gov> wrote:
>
> Hi Jenna,
>
> My suggestion is for you to do a Freedom of Information Act request (www.foia.gov) for the
information you are looking for because I am not able to release information (should there be any) from
FBI records. You need to include as many details as possible so they can focus and narrow the search.
Explain that you are looking for information related to your recovery as a victim of Ron Eppinger. The
process may take some time but it is the appropriate method for you to obtain any possible records
regarding your recovery. Hope this helps.
>
> Best wishes,
>
> Jason
>
> -----Original Message-----
> From: Robert Giuffre [mailto:robiejennag@icloud.com]
> Sent: Wednesday, August 27, 2014 9:49 AM
> To: Richards, Jason R.
> Subject: Hi There
>
> G'day Jason,
>
> I know I am a pain in your rear right now and I don't want to be but I am so close to wrapping up an
era, just need a couple dates confirmed is all.
>
> If you aren't sure about the dates which you have already said that's fine. I have turned the Wilton
Manors police dept upside down looking through records and come up w nada. What was your
acquaintance's name that took my statement about Ron Eppinger? Is it possible that it wasn't Wilton
Manors and maybe it was somewhere else?
>
> I'm really racking my brain about this!! It would be a personal favor to me and I am so very much
appreciative of anything you might know!!


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    Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 5 of 35




>
> Thanks a lot mate!!
>
> Jenna
>
> Sent from my iPhone




                                                                GIUFFRE005609
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     Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 6 of 35


From:            Robert Giuffre
To:              Jason.Richards2@ic.fbi.gov
Subject:         Virginia Roberts(Jane doe 102)
Date:            Tuesday, April 15, 2014 9:50:31 AM




Hi Jason,

Long time, no talk. I hope all has been well for you and yours!! I am now back in the USA, not too
many people know about that and I'd like to keep it that way as my case against Jeffrey Epstein has
intensified!! I am here to get this BS non- prosecution agreement thrown out and speaking w Judge
Paul Cassal he suggested trying to get ahold of any photos and/or video recordings released by the FBI
to assist our case further in proving how much pedophilia occurred by Jeffrey and the many other
monsters he obliged w underage girls. If this is a possibility please let me know so I can give you Brad
Edwards( my attorney) his contact details. Many thanks for your time and I hope we should meet again.

Kindest Regards,
Virginia Roberts
Phone 321-271-4948

Sent from my iPhone




                                                                                          GIUFFRE005610
                                                                                          CONFIDENTIAL
     Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 7 of 35


From:            Robert Giuffre
To:              christina.pyror@ic.fbi.gov
Subject:         Virginia Roberts re: Jeffrey Epstein Case
Date:            Wednesday, April 16, 2014 1:52:05 PM




Hi Christina,

I was wondering if you remember me from Sydney Consulate, I am a victim in the investigation from
the Jeffrey Epstein case and was wondering if you could tell me if I would be able to get ahold of any
of the pics and/or videos that the FBI might have confiscated from any of Epstein's residences? Also can
I ask if you might have any of the flight logs that include my name in them to be sent to me as well.
It's all for evidential purposes and would prove a many of things to help my case.

Kindest Regards,
Virginia Roberts
321-271-4948 cell

Sent from my iPhone




                                                                                          GIUFFRE005611
                                                                                          CONFIDENTIAL
      Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 8 of 35


From:           sharonrikard@gmail.com on behalf of Sharon Rikard
To:             Virginia Giuffre
Subject:        Re: Victims Refuse Silence
Date:           Saturday, March 28, 2015 9:49:55 AM



Hi Virginia,
So sorry for the late response. Our organization currently works with survivors of
sex trafficking provided continuing education, life skills and counseling. We will help
with transportation and their basic necessities. Our ultimate goal is a home for
domestic minor sex trafficking survivors.
Our contact information is:
doorstofreedom.com
infor@doorstofreedom.com
843-817-0740

I am going to forward your information to our Attorney Generals office as
Marie Sazehn has compiled a list of organizations in our state of people/organizations
and their involvement in helping survivors.

Thanks for all you are doing to help others!

Blessings,
Sharon Rikard




                                                                           GIUFFRE005612
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     Case 1:15-cv-07433-LAP Document 1320-39 Filed 01/03/24 Page 9 of 35


From:              Virginia Giuffre
To:                sharon@doorstofreedom.com
Subject:           Victims Refuse Silence
Date:              Wednesday, March 18, 2015 12:19:06 PM




Hi Sharon,

This is Virginia, we spoke earlier and I just wanted to say thank you for your time and what your doing
to help the victims in your area. The mentality has to be changed!! Good luck!!

Kindest Regards,
Virginia Roberts

Sent from my iPhone




                                                                                         GIUFFRE005613
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Log                                                                                                                                                                                            Privilege                Doc
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                                                                                                                                                                             AC Privilege and
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                                                                                                                                                                             Product/joint
                                                                                                             Email chain with Giuffre, Edwards and Cassell re attorney       defense/commo
 1    2/12/2015 6:14    Virginia Giuffre        smccawley@bsfllp.com                                         impressions and legal advice relating to deposition testimony   n interest        Withheld        3        msg
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                Smccawley@BSFLLP.com,br                                                                                                      Product/joint
                                                ad@pathtojustice.com,robie                                                                                                   defense/commo
 2    2/16/2015 1:05    StanPottinger@aol.com   jennag@y7mail.com                                            Discussion of evidence among client and attorneys               n interest        Withheld        2        msg

                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                                                                                                                                                             defense/commo
                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 3    2/16/2015 15:37   Virginia Giuffre        Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                             Attorney
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                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 4    2/16/2015 16:15   Sigrid McCawley         robiejennag@y7mail.com                                       information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                             Attorney
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                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 5    2/16/2015 16:24   Virginia Giuffre        Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

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 6    2/16/2015 16:24   Sigrid McCawley         robiejennag@y7mail.com                                       information provided by client to assist in legal advice        product          Withheld         2        msg
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                                                StanPottinger@aol.com,bra                                                                                                    Work
                                                d@pathtojustice.com,cassell                                                                                                  Product/joint
                                                p@law.utah.edu,robiejenna                                                                                                    defense/commo
 7    2/21/2015 16:45   Sigrid McCawley         g@y7mail.com                Smccawley@BSFLLP.com             Discussion of evidence among client and attorneys               n interest       Withheld         2        msg



                                                                 Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From              Email To                   CC Address                         Subject Matter                                       Type of Privilege Action      Page Count   Type
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 8    2/21/2015 16:58   Virginia Giuffre        Smccawley@BSFLLP.com                                          Discussion of evidence among client and attorney     n interest        Withheld        2        msg
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                                                                           StanPottinger@aol.com,cassellp@l                                                        Product/joint
                                                                           aw.utah.edu,robiejennag@y7mail.c                                                        defense/commo
 9    2/21/2015 17:05   Brad Edwards            Smccawley@BSFLLP.com       om                               Discussion of evidence among client and attorneys      n interest       Withheld         2        msg
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10    2/21/2015 17:10   Sigrid McCawley         robiejennag@y7mail.com                                        Discussion of evidence among client and attorney     n interest       Withheld         3        msg
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11    2/21/2015 17:16   Virginia Giuffre        Smccawley@BSFLLP.com                                          Discussion of evidence among client and attorneys    n interest       Withheld         3        msg
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                                                                           StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                           htojustice.com,cassellp@law.utah.                                                       defense/commo
12    2/23/2015 14:21   Sigrid McCawley         robiejennag@y7mail.com     edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg
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                                                Smccawley@BSFLLP.com,ro brad@pathtojustice.com,cassellp@                                                           defense/commo
13    2/23/2015 14:29   StanPottinger@aol.com   biejennag@y7mail.com    law.utah.edu                     Discussion of thoughts and impressions of attorneys       n interest       Withheld         1        msg
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                                                                           StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                           htojustice.com,cassellp@law.utah.                                                       defense/commo
14    2/23/2015 16:01   Virginia Giuffre        Smccawley@BSFLLP.com       edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg




                                                                 Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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                                                                                                       Email chain with McCawley, Giuffre, and Paralegals re seeking     defense/commo
15    2/24/2015 17:51   Sigrid McCawley    robiejennag@y7mail.com                                      information to assist in legal advice, with attachment            n interest        Withheld        4        msg
                                                                                                                                                                         AC Privilege and
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16                                                                                                     Attached case research                                            n interest       Withheld        14         rtf
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                                                                                                       Email chain with Giuffre, McCawley and legal assistant re legal   defense/commo
17    2/26/2015 12:59   Virginia Giuffre   Smccawley@BSFLLP.com                                        document, with attachment                                         n interest       Withheld         1        msg
                                                                                                                                                                         AC Privilege and
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18                                                                                                     Attached draft legal document                                     n interest       Withheld         1        jfif
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                                                                                                       Email with Giuffre, McCawley, Edwards and Henderson re            defense/commo
19    2/28/2015 17:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        discussion of draft statement                                     n interest       Withheld         3        msg
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                                                                     Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and             defense/commo
20    3/13/2015 17:29   Stan Pottinger     robiejennag@y7mail.com    thtojustice.com              Pottinger re legal advice on media issues                              n interest       Withheld         2        msg
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                                                                                                       Email chain with Giuffre, Edwards, McCawley and Pottinger re      defense/commo
21    3/13/2015 17:49   Virginia Giuffre   stanpottinger@aol.com                                       legal advice on media issues                                      n interest       Withheld         2        msg




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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                                                                        Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and        defense/commo
22    3/13/2015 17:56   StanPottinger@aol.com robiejennag@y7mail.com    thtojustice.com              Pottinger re legal advice on media issues                         n interest        Withheld        3        msg
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                                              StanPottinger@aol.com,robi                                  Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
23    3/13/2015 18:00   Brad Edwards          ejennag@y7mail.com         Smccawley@BSFLLP.com             Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
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24    3/13/2015 18:24   Virginia Giuffre      brad@pathtojustice.com                                      Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
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25    3/13/2015 18:25   Virginia Giuffre      StanPottinger@aol.com                                       Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
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                                                                        Smccawley@BSFLLP.com,StanPotti Email chain with Giuffre, Edwards, McCawley, Henderson and      defense/commo
26    3/13/2015 21:53   Virginia Giuffre      brad@pathtojustice.com    nger@aol.com                   Pottinger re legal advice on media issues                       n interest       Withheld         4        msg
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                                                                                                          Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
27    3/13/2015 23:38   Brad Edwards          robiejennag@y7mail.com                                      Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
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                                                                                                          Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
28    3/13/2015 23:40   Virginia Giuffre      brad@pathtojustice.com                                      Pottinger re legal advice on media issues                    n interest       Withheld         4        msg




                                                              Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                            Privilege                Doc
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                                           Smccawley@BSFLLP.com,br                                                                                                           defense/commo
                                           ad@pathtojustice.com,stan                                    Providing information to assist in legal advice re potential legal   n interest/work
29    3/17/2015 15:20   Virginia Giuffre   pottinger@aol.com                                            action, with attachments                                             product         Withheld          1        msg


                                                                                                                                                                             Attorney
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                                           Smccawley@BSFLLP.com,br                                                                                                           defense/commo
                                           ad@pathtojustice.com,robie                                   Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
30    3/17/2015 18:40   Stan               jennag@y7mail.com                                            legal advice related to VRS                                          product         Withheld          1        msg


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                                                                                                        Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
31    3/17/2015 19:42   Virginia Giuffre   stanpottinger@aol.com                                        legal advice related to VRS                                          product         Withheld          1        msg


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                                                                                                                                                                             Client/joint
                                           brad@pathtojustice.com,ro                                                                                                         defense/commo
                                           biejennag@y7mail.com,stan aortiz@BSFLLP.com,brittany@path Email chain with Giuffre, Edwards, Henderson, Pottinger,                n interest/work
32    3/20/2015 15:43   Sigrid McCawley    pottinger@aol.com         tojustice.com                   McCawley and BSF staff re legal advice related to VRS                   product         Withheld          1        msg


                                                                                                                                                                             Attorney
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33    3/20/2015 15:57   Sigrid McCawley    robiejennag@y7mail.com                                       Providing legal advice re potential deposition                       product         Withheld          1        msg


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                                                                                                                                                                             Client/joint
                                                                                                                                                                             defense/commo
                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and           n interest/work
34    3/24/2015 21:19   Sigrid McCawley    robiejennag@y7mail.com       aortiz@BSFLLP.com               BSF staff re legal advice related to VRS                             product         Withheld          2        msg



                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                    Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                         Subject Matter                                               Type of Privilege Action      Page Count   Type

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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
35    3/24/2015 21:21   Virginia Giuffre   Smccawley@BSFLLP.com      aortiz@BSFLLP.com                  BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
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                                           Smccawley@BSFLLP.com,ro                                      Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
36    3/24/2015 21:36   Andres Ortiz       biejennag@y7mail.com                                         BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
37    3/24/2015 22:21   Virginia Giuffre   aortiz@BSFLLP.com                                            BSF staff re legal advice related to VRS                     product         Withheld          3        msg


                                                                                                                                                                     Attorney
                                                                     Smccawley@BSFLLP.com,StanPotti                                                                  Client/joint
                                                                     nger@aol.com,brad@pathtojustice                                                                 defense/commo
                                                                     .com,brittany@pathtojustice.com,e Email chain with Giuffre, Edwards, Henderson, Pottinger,      n interest/work
38    3/26/2015 2:00    Sigrid McCawley    robiejennag@y7mail.com    perez@BSFLLP.com                  McCawley and BSF staff re legal advice related to VRS         product         Withheld          1        msg


                                                                                                                                                                     Attorney
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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
39    3/26/2015 2:21    Virginia Giuffre   Smccawley@BSFLLP.com                                         BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
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40    3/26/2015 2:22    Sigrid McCawley    robiejennag@y7mail.com                                       BSF staff re legal advice related to VRS                     product         Withheld          2        msg



                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From           Email To                  CC Address                        Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                         Email chain with Giuffre, Edwards, Henderson, McCawley and      n interest/work
41    3/26/2015 3:00    Virginia Giuffre     Smccawley@BSFLLP.com                                        BSF staff re legal advice related to VRS                        product         Withheld          2        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                         Giuffre conveying information sought by attorney to assist in   n interest/work
42    4/1/2015 21:32    Virginia Giuffre     Smccawley@BSFLLP.com                                        legal advice with attachments                                   product         Withheld          1        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                         Providing draft legal document for client review, with          n interest/work
43    4/2/2015 7:01     Brittany Henderson   robiejennag@y7mail.com    eperez@BSFLLP.com                 attachment                                                      product         Withheld          1        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                                                                                         defense/commo
44                                                                                                       Attached Draft legal document                                   n interest       Withheld        15        pdf
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                       brad@pathtojustice.com,eperez@ Email chain with Giuffre, Henderson, Edwards and legal             defense/commo
45    4/3/2015 15:32    Brittany Henderson   robiejennag@y7mail.com    BSFLLP.com                     assistant re legal document, with attachment                       n interest       Withheld         2        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                                                                                         defense/commo
46                                                                                                       Attached draft legal document                                   n interest                       15        pdf




                                                             Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                         Privilege                Doc
 ID   Email Sent Date   Email From         Email To                   CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type

                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                                                                                          n interest/work
47    4/8/2015 20:34    Virginia Giuffre   Smccawley@BSFLLP.com                                         Seeking legal advice related to VRS                               product         Withheld          1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                        Email chain with Giuffre and McCawley re advice re legal filings, n interest/work
48    4/9/2015 3:23     Virginia Giuffre   Smccawley@BSFLLP.com                                         with attachments                                                  product         Withheld          2        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                           StanPottinger@aol.com,bra                                                                                                      defense/commo
                                           d@pathtojustice.com,robiej brittany@pathtojustice.com,sperki Email chain with Giuffre, Edwards, Henderson, McCawley and        n interest/work
49    4/9/2015 7:16     Sigrid McCawley    ennag@y7mail.com           ns@BSFLLP.com                     BSF staff re legal advice re media issues                         product         Withheld          2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                        Email chain with Giuffre, Edwards, and McCawley re legal advice n interest/work
50    4/9/2015 9:26     Brad Edwards       Smccawley@BSFLLP.com       robiejennag@y7mail.com            re media issues                                                 product         Withheld            1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                        Email chain with Giuffre and McCawley re legal advice re media n interest/work
51    4/9/2015 9:33     Sigrid McCawley    robiejennag@y7mail.com                                       issues                                                         product         Withheld             2        msg
                                                                                                                                                                          AC Privilege and
                                                                                                                                                                          Work
                                                                                                                                                                          Product/joint
                                                                                                        Conveying legal advice re draft legal documents to client, with   defense/commo
52    4/9/2015 12:46    Sigrid McCawley    robiejennag@y7mail.com                                       attachments                                                       n interest       Withheld         1        msg




                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Conveying legal advice re draft legal documents to client, with   defense/commo
53                                                                                                     attachments                                                       n interest        Withheld       14        docx
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Conveying legal advice re draft legal documents to client, with   defense/commo
54                                                                                                     attachments                                                       n interest       Withheld        12        docx
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                       Conveying legal advice re draft legal documents to client, with   defense/commo
55                                                                                                     attachments                                                       n interest       Withheld         2        docx


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                     StanPottinger@aol.com,brad@pat                                                                      n interest/work
56    4/10/2015 14:59   Sigrid McCawley    robiejennag@y7mail.com    htojustice.com                 Providing legal advice re media issues                               product         Withheld          1        msg


                                                                                                                                                                         Attorney
                                                                                                                                                                         Client/joint
                                                                                                                                                                         defense/commo
                                                                                                                                                                         n interest/work
57    4/10/2015 15:37   Virginia Giuffre   Smccawley@BSFLLP.com                                        Regarding legal advice re media issues                            product         Withheld          1        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                     StanPottinger@aol.com,brad@pat Email chain with Giuffre, McCawley, Henderson, Edwards,              Product/joint
                                                                     htojustice.com,brittany@pathtojus Pottinger and legal assistant re legal documents, with            defense/commo
58    4/10/2015 17:31   Sigrid McCawley    robiejennag@y7mail.com    tice.com,eperez@BSFLLP.com        attachments                                                       n interest       Withheld         2        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                                                                                         defense/commo
59                                                                                                     Attached draft legal document                                     n interest       Withheld         3        pdf


                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                    Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type
                                                                                                                                                                     AC Privilege and
                                                                                                                                                                     Work
                                                                                                                                                                     Product/joint
                                                                                                                                                                     defense/commo
60                                                                                                     Attached draft legal document                                 n interest        Withheld       21        pdf


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
61    4/10/2015 17:40   Virginia Giuffre   Smccawley@BSFLLP.com                                        advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
62    4/10/2015 19:10   Virginia Giuffre   Smccawley@BSFLLP.com                                        advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
63    4/10/2015 19:28   Sigrid McCawley    robiejennag@y7mail.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
64    4/10/2015 19:33   Virginia Giuffre   Smccawley@BSFLLP.com                                        advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
65    4/10/2015 20:03   Sigrid McCawley    robiejennag@y7mail.com                                      advice related to VRS                                            product         Withheld       2        msg




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Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                     CC Address                       Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                         Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
66    4/10/2015 20:04   Virginia Giuffre   Smccawley@BSFLLP.com                                          advice related to VRS                                            product         Withheld         2        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                         Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
67    4/10/2015 20:04   Sigrid McCawley    robiejennag@y7mail.com                                        advice related to VRS                                            product         Withheld         2        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                         Email chain with Giuffre, McCawley legal assistant re seeking   Product/joint
                                                                                                         and providing information sought by attorney to assist in       defense/commo
68    4/10/2015 23:46   Virginia Giuffre   Smccawley@BSFLLP.com                                          providing legal advice, with attachments                        n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                        StanPottinger@aol.com,brad@pat Email chain with Giuffre, Pottinger, Edwards and McCawley re      defense/commo
69    4/13/2015 13:52   Sigrid McCawley    robiejennag@y7mail.com       htojustice.com                 legal advice regarding potential public statements                n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                         Email chain with Giuffre, Pottinger, Edwards and McCawley re    defense/commo
70    4/13/2015 13:56   Virginia Giuffre   Smccawley@BSFLLP.com                                          legal advice regarding media issues                             n interest       Withheld         3        msg


                                                                                                                                                                         Attorney
                                           Smccawley@BSFLLP.com,bri                                                                                                      Client/joint
                                           ttany@pathtojustice.com,ro                                                                                                    defense/commo
                                           biejennag@y7mail.com,stan                                                                                                     n interest/work
71    4/14/2015 23:38   Brad Edwards       pottinger@aol.com                                             Providing legal advice related to VRS                           product         Withheld          1        msg




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Log                                                                                                                                                                                      Privilege                Doc
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                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Email chain with Giuffre and McCawley re legal advice regarding n interest/work
72    4/16/2015 11:14   Virginia Giuffre   Smccawley@BSFLLP.com                                        media issues                                                    product         Withheld          2        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Email chain with Giuffre and McCawley re legal advice regarding n interest/work
73    4/16/2015 11:47   Sigrid McCawley    robiejennag@y7mail.com                                      media issues                                                    product         Withheld          2        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                                                                                       n interest/work
74    4/24/2015 19:22   Sigrid McCawley    robiejennag@y7mail.com                                      Providing legal advice re records retention, with attachments   product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                                                                                       n interest/work
75                                                                                                     Attached letter providing legal advice re document retention    product         Withheld          2        pdf


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Email chain with Giuffre and McCawley re legal advice regarding n interest/work
76    4/24/2015 19:59   Virginia Giuffre   Smccawley@BSFLLP.com                                        potential deposition                                            product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                                                                                       n interest/work
77    4/27/2015 21:20   Brad Edwards       robiejennag@y7mail.com    Smccawley@BSFLLP.com              Seeking information to assist in providing legal advice         product         Withheld          1        msg



                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                             Privilege                 Doc
 ID   Email Sent Date   Email From           Email To                     CC Address                         Subject Matter                                                   Type of Privilege Action       Page Count   Type
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                          Smccawley@BSFLLP.com,brad@pa                                                                        Product/joint
                                                                          thtojustice.com,robiejennag@y7m                                                                     defense/commo
78    4/30/2015 6:42    Brittany Henderson   eperez@BSFLLP.com            ail.com                         Legal documents provided to assist in providing legal advice        n interest        Withheld         1        msg


                                                                                                                                                                              Attorney
                                                                                                                                                                              Client/joint
                                                                                                                                                                              defense/commo
                                                                                                             Email chain with Giuffre, Henderson and paralegal re seeking     n interest/work
79    4/30/2015 7:02    Brittany Henderson   robiejennag@y7mail.com                                          and providing information to assist in providing legal advice    product         Withheld           2        msg
                                                                                                                                                                                 AC Privilege and
                                                                                                                                                                                 Work
                                                                                                             Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                             legal assistant re seeking information to assist in providing legal defense/commo
80    4/30/2015 7:05    Virginia Giuffre     brittany@pathtojustice.com                                      advice                                                              n interest       Withheld       2        msg
                                                                                                                                                                                 AC Privilege and
                                                                                                                                                                                 Work
                                                                                                             Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                             legal assistant re seeking information to assist in providing legal defense/commo
81    5/4/2015 20:04    Virginia Giuffre     brittany@pathtojustice.com                                      advice, with attachment                                             n interest       Withheld       2        msg
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                                                             Email chain with McCawley, Giuffre, Edwards, Pottinger,          Product/joint
                                                                                                             Henderson and Paralegal re seeking and providing information     defense/commo
82    5/11/2015 18:20   Sigrid McCawley      robiejennag@y7mail.com       Smccawley@BSFLLP.com               to assist in legal advice, with attachments                      n interest       Withheld          1        msg
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                                                             Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                             Paralegal re seeking information to assist in providing legal    defense/commo
83    5/11/2015 18:34   Virginia Giuffre     Smccawley@BSFLLP.com                                            advice re potential litigation                                   n interest       Withheld          2        msg
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                                                                                                                              Product/joint
                                                                                                             Email chain with Giuffre and McCawley re case research, with     defense/commo
84    5/11/2015 18:40   Sigrid McCawley      robiejennag@y7mail.com                                          attachment                                                       n interest       Withheld          2        msg




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 ID   Email Sent Date   Email From         Email To                    CC Address                      Subject Matter                                                   Type of Privilege Action      Page Count   Type
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                           brad@pathtojustice.com,ro                                   Providing and seeking information to assist in legal advice re   defense/commo
85    5/11/2015 18:45   Sigrid McCawley    biejennag@y7mail.com                                        potential legal action, with attachment                          n interest        Withheld        1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre and McCawley re seeking information     n interest/work
86    5/11/2015 18:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        to assist in providing legal advice re potential litigation      product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                       Paralegal re seeking information to assist in providing legal    defense/commo
87    5/11/2015 18:56   Virginia Giuffre   brad@pathtojustice.com                                      advice re potential litigation                                   n interest       Withheld         2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
88    5/17/2015 22:37   Sigrid McCawley    robiejennag@y7mail.com                                      Providing litigation documents to client, with attachments       product         Withheld          3        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
89                                                                                                     Attached draft legal agreement                                   n interest       Withheld        10        pdf


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
90    5/17/2015 22:40   Sigrid McCawley    robiejennag@y7mail.com                                      Providing legal advice re legal agreement, with attachment       product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
91    5/18/2015 18:40   Virginia Giuffre   Smccawley@BSFLLP.com                                        Discussion of confidential agreement, with attachments           n interest       Withheld         1        msg

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Log                                                                                                                                                                                    Privilege                Doc
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                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
92                                                                                                     Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
93                                                                                                     Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
94    6/5/2015 19:16    Sigrid McCawley    robiejennag@y7mail.com                                      Conveying attorney mental impression regarding hearing        product         Withheld          1        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                       Email chain with Giuffre and McCawley re attorney mental      n interest/work
95    6/6/2015 17:20    Virginia Giuffre   Smccawley@BSFLLP.com                                        impression regarding hearing                                  product         Withheld          1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
96    6/25/2015 2:26    Sigrid McCawley    robiejennag@y7mail.com                                      Providing advice re status and strategy of ongoing legal matters product         Withheld       6        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                       Discussion with S. McCawley regarding file related to         n interest/work
97    7/17/2015 14:19   Sigrid McCawley    robiejennag@y7mail.com    eperez@BSFLLP.com                 representation by B. Josefsberg                               product         Withheld          4        msg



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Log                                                                                                                                                                                       Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                   Type of Privilege Action      Page Count   Type

                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Providing information to assist in legal advice re potential     n interest/work
98    7/27/2015 21:53   Virginia Giuffre   Smccawley@BSFLLP.com                                        litigation                                                       product         Withheld          1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
99    7/29/2015 19:45   Sigrid McCawley    robiejennag@y7mail.com    StanPottinger@aol.com             Conveying legal advice on media issues                           product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                       Email chain with Giuffre, McCawley and paralegals re             defense/commo
100   8/5/2015 19:51    Sigrid McCawley    robiejennag@y7mail.com                                      information sought to assist in providing legal advice           n interest       Withheld         1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                       re seeking information to assist in providing legal advice re    defense/commo
101    8/6/2015 2:14    Sigrid McCawley    robiejennag@y7mail.com                                      potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, legal intern, Edwards and    Product/joint
                                                                                                       paralegal re seeking information to assist in providing legal    defense/commo
102    8/6/2015 2:45    Sigrid McCawley    robiejennag@y7mail.com    brad@pathtojustice.com            advice re potential litigation                                   n interest       Withheld         2        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                       re seeking information to assist in providing legal advice re    defense/commo
103    8/6/2015 2:55    Virginia Giuffre   Smccawley@BSFLLP.com                                        potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                     Smccawley@BSFLLP.com,brad@pa Email chain with McCawley, Giuffre, and Paralegals re seeking         defense/commo
104    8/6/2015 3:48    Sigrid McCawley    robiejennag@y7mail.com    thtojustice.com              information to assist in legal advice, with attachments               n interest       Withheld         2        msg


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Log                                                                                                                                                                                              Privilege                Doc
 ID   Email Sent Date   Email From         Email To                     CC Address                          Subject Matter                                                     Type of Privilege Action      Page Count   Type
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                            Email chain with Giuffre, McCawley, legal intern and paralegal     Product/joint
                                                                                                            re seeking information to assist in providing legal advice re      defense/commo
105    8/6/2015 3:51    Virginia Giuffre   Smccawley@BSFLLP.com                                             potential litigation                                               n interest        Withheld        2        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                        brad@pathtojustice.com,brittany@ Providing and seeking information to assist in legal advice re        defense/commo
106   9/1/2015 18:54    Sigrid McCawley    robiejennag@y7mail.com       pathtojustice.com                potential legal action, with attachment                               n interest       Withheld         2        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           brad@pathtojustice.com,sm                                                                                                           defense/commo
                                           ccawley@bsfllp.com,stanpot                                       Providing information sought by attorneys to provide legal         n interest/work
107   9/7/2015 18:24    Virginia Giuffre   tinger@aol.com                                                   advice, with attachment                                            product         Withheld          1        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                                                            Attached Information sought by attorneys to provide legal          defense/commo
108                                                                                                         advice                                                             n interest       Withheld         4        docx


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           brad@pathtojustice.com,ro                                        Email chain with Giuffre, Edwards, Pottinger and McCawley re       defense/commo
                                           biejennag@y7mail.com,stan                                        collection of information to assist in providing legal advice re   n interest/work
109   9/7/2015 18:58    Sigrid McCawley    pottinger@aol.com                                                potential litigation                                               product         Withheld          1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                            Email chain with Giuffre and McCawley re draft legal document n interest/work
110   9/15/2015 21:58   Virginia Giuffre   Smccawley@BSFLLP.com                                             relating to litigation                                        product         Withheld               1        msg




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                    Privilege                Doc
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                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                       Email chain with Giuffre and McCawley re draft legal document n interest/work
111   9/15/2015 22:04   Sigrid McCawley    robiejennag@y7mail.com                                      relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                       Email chain with Giuffre and McCawley re draft legal document n interest/work
112   9/15/2015 22:07   Virginia Giuffre   Smccawley@BSFLLP.com                                        relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
113   9/20/2015 12:15   Sigrid McCawley    robiejennag@y7mail.com    brad@pathtojustice.com            Conveying information about potential legal action.           product         Withheld          1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
114   9/20/2015 14:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
115   9/20/2015 19:16   Virginia Giuffre   Smccawley@BSFLLP.com                                        Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
116   9/20/2015 19:29   Sigrid McCawley    robiejennag@y7mail.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg



                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                    Privilege                Doc
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                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
117   9/20/2015 19:30   Virginia Giuffre   Smccawley@BSFLLP.com                                        Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg
                                                                                                                                                                     AC Privilege and
                                                                                                                                                                     Work
                                                                                                                                                                     Product/joint
                                                                                                                                                                     defense/commo
118   9/21/2015 14:48   Sigrid McCawley    robiejennag@y7mail.com                                      Communication re initiation of lawsuit, with attachments      n interest       Withheld         1        msg
                                                                                                                                                                     AC Privilege and
                                                                                                                                                                     Work
                                                                                                                                                                     Product/joint
                                                                                                                                                                     defense/commo
119                                                                                                    Attached draft legal document relating to litigation          n interest       Withheld        12        pdf


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
120                                                                                                    Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
121                                                                                                    Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
122                                                                                                    Attached draft legal document relating to litigation          product         Withheld          3        pdf




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                       Privilege                   Doc
 ID      Email Sent Date     Email From                  Email To                         CC Address                    Subject Matter                                                  Type of Privilege Action       Page Count     Type

                                                                                                                                                                                         Attorney
                                                                                                                                                                                         Client/joint
                                                                                                                                                                                         defense/commo
                                                                                                                                                                                         n interest/work
123     9/21/2015 14:51      Virginia Giuffre            Smccawley@BSFLLP.com                                           Email chain with Giuffre and McCawley re potential legal action. product         Withheld           1         msg




                                                                                                                        Plaintiff has objected that Defendant’s requests are overly
                                                                                                                        broad and unduly burdensome, as individually logging all
                                                                                                                        privileged responsive documents would be overly burdensome.
                                                                                                                        Plaintiff contends that requests targeting such privileged
                                                                                                                        information are not reasonably calculated to lead to the
                                                                                                                        discovery of admissible evidence, are not important to resolving
                                                                                                                        the issues, are not relevant to any party’s claim or defense, are
                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                        Rule 26.2(c). Correspondence re: Jane Doe #1 and Jane Doe #2
                             Virginia Giuffre, Brad
                                                                                                                        v. United States ("CVRA case"), Case no. 08-80736-CIV-Marra,
                             Edwards, Paul Cassell,
                                                                                                                        pending in the Southern District of Florida. Documents withheld
                             Brittany Henderson (and     Virginia Giuffre, Brad
                                                                                                                        pursuant to the privileges asserted included communications
                             other , Sigrid McCawley,    Edwards, Paul Cassell,
                                                                                                                        from Ms. Giuffre to the attorneys listed seeking legal advice
                             Meredith Schultz, David     Brittany Henderson, Sigrid
                                                                                                                        related to the CVRA case, communications from the attorneys
                             Boies, Jack Scarola, Stan   McCawley, Meredith
                                                                                                                        to Ms. Giuffre giving legal advice or giving attorney mental
                             Pottinger, Ellen            Schultz, David Boies, Jack
                                                                                                                        impressions related to the CVRA case, communications sending
                             Brockman, Legal             Scarola, Stan Pottinger, Ellen
                                                                                                                        or attaching attorney work product related to the CVRA case,
                             Assistants, Professionals   Brockman, Legal Assistants,                                                                                                       AC Privilege and            Approx. 1.3K
                                                                                                                        and/or communications sending or attaching client revisions to
                             retained by attorneys to    Professionals retained by                                                                                                         Work                            docs
                                                                                                                        attorney work product related to the CVRA case, and
        Emails, letters, and aid in the rendition of     attorneys to aid in the                                                                                                           Product/joint               overlapping
                                                                                                                        communications re evidence.
      other communications legal advice and              rendition of legal advice and                                                                                                     defense/commo                with other
125    from 2011 - Present representation                representation                                                                                                                    n interest       Withheld      cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                       Privilege                   Doc
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                                                                                                                        Plaintiff has objected that Defendant’s requests are overly
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                                                                                                                        privileged responsive documents would be overly burdensome.
                                                                                                                        Plaintiff contends that requests targeting such privileged
                                                                                                                        information are not reasonably calculated to lead to the
                                                                                                                        discovery of admissible evidence, are not important to resolving
                                                                                                                        the issues, are not relevant to any party’s claim or defense, are
                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                     Rule 26.2(c). Correspondence re: Giuffre v. Maxwell (“Maxwell
                             Edwards, Paul Cassell,                                                                     case”), 15-cv-07433-RWS, pending in the Southern District of
                             Brittany Henderson,         Virginia Giuffre, Brad                                         New York, since the date of filing, September 21, 2015.
                             Sigrid McCawley,            Edwards, Paul Cassell,                                         Documents withheld pursuant to the privileges asserted
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                     included communications from Ms. Giuffre to the attorneys
                             Boies, Stephen Zach,        McCawley, Meredith                                             listed seeking legal advice related to the Maxwell case,
                             Stan Pottinger, Ellen       Schultz, David Boies,                                          communications from the attorneys to Ms. Giuffre giving legal
                             Brockman, Legal             Stephen Zach, Stan                                             advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                     Maxwell case, communications sending or attaching attorney         AC Privilege and            Approx. 1.3K
                             retained by attorneys to    Legal Assistants,                                              work product related to the Maxwell case, and/or                   Work                            docs
        Emails, letters, and aid in the rendition of     Professionals retained by                                      communications sending or attaching client revisions to            Product/joint               overlapping
      other communications legal advice and              attorneys to aid in the                                        attorney work product related to the Maxwell case, and             defense/commo                with other
126   from 9/21/15 - Present representation              rendition of legal advice and                                  communications re evidence.                                        n interest       Withheld      cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                     Privilege                  Doc
 ID      Email Sent Date      Email From                 Email To                        CC Address                     Subject Matter                                                Type of Privilege Action      Page Count     Type




                                                                                                                        Plaintiff has objected that Defendant’s requests are overly
                                                                                                                        broad and unduly burdensome, as individually logging all
                                                                                                                        privileged responsive documents would be overly burdensome.
                                                                                                                        Plaintiff contends that requests targeting such privileged
                                                                                                                        information are not reasonably calculated to lead to the
                                                                                                                        discovery of admissible evidence, are not important to resolving
                                                                                                                        the issues, are not relevant to any party’s claim or defense, are
                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                     Rule 26.2(c). Correspondence re: Bradley Edwards and Paul
                             Edwards, Paul Cassell,                                                                     Cassell v. Alan Dershowitz (“Dershowitz case”), Case no. 15-
                             Brittany Henderson,         Virginia Giuffre, Brad                                         000072, pending in the Seventeenth Judicial Circuit, Broward
                             Sigrid McCawley,            Edwards, Paul Cassell,                                         County, Florida. Documents withheld pursuant to the privileges
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                     asserted included communications from Ms. Giuffre to the
                             Boies, Stephen Zach,        McCawley, Meredith                                             attorneys listed seeking legal advice related to the Dershowitz
                             Stan Pottinger, Ellen       Schultz, David Boies,                                          case, communications from the attorneys to Ms. Giuffre giving
                             Brockman, Legal             Stephen Zach, Stan                                             legal advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                     Dershowitz case, communications sending or attaching attorney AC Privilege and              Approx. 1.3K
        Emails, letters, and retained by attorneys to    Legal Assistants,                                              work product related to the Dershowitz case, and/or                Work                         docs
      other communications aid in the rendition of       Professionals retained by                                      communications sending or attaching client revisions to            Product/joint            overlapping
       from January 2015 - legal advice and              attorneys to aid in the                                        attorney work product related to the Dershowitz case, and          defense/commo             with other
127          Present         representation              rendition of legal advice and                                  communications re evidence.                                        n interest    Withheld      cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                           Privilege                   Doc
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                                                                                                                           Plaintiff has objected that Defendant’s requests are overly
                                                                                                                           broad and unduly burdensome, as individually logging all
                                                                                                                           privileged responsive documents would be overly burdensome.
                                                                                                                           Plaintiff contends that requests targeting such privileged
                                                                                                                           information are not reasonably calculated to lead to the
                                                                                                                           discovery of admissible evidence, are not important to resolving
                                                                                                                           the issues, are not relevant to any party’s claim or defense, are
                                                                                                                           not proportional to the needs of the case, and creates a heavy
                                                                                                                           burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                           Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                           Rule 26.2(c). Correspondence re: Jane Doe No. 102 v. Jeffrey
                                                                                                                           Epstein (“Epstein case”), Case No. 09-80656-CIV-Marra/Johnson
                                                                                                                           (Southern District of Florida). Documents withheld pursuant to
                                                                                                                           the privileges asserted included communications from Ms.
                             Virginia Giuffre, Bob     Virginia Giuffre, Bob                                               Giuffre to the attorneys listed seeking legal advice related to the
                             Josefsberg, Katherine W. Josefsberg, Katherine W.                                             Epstein case, communications from the attorneys to Ms. Giuffre
                             Ezell, Amy Ederi, other   Ezell, Amy Ederi, other                                             giving legal advice or giving attorney mental impressions related
                             Podhurst attorneys,       Podhurst attorneys, Legal                                           to the Epstein case, communications sending or attaching            AC Privilege and            Approx. 1.3K
                             Legal Assistants, and     Assistants, and Professionals                                       attorney work product related to the Epstein case, and/or           Work                            docs
        Emails, letters, and Professionals retained by retained by attorneys to aid                                        communications sending or attaching client revisions to             Product/joint               overlapping
      other communications attorneys to aid in the     in the rendition of legal                                           attorney work product related to the Epstein case, and              defense/commo                with other
128    from 2009 - Present rendition of legal advice advice                                                                communications re evidence.                                         n interest       Withheld      cases
                                                                                                                           Email chain with Giuffre and McCawley seeking information to
129        6/10/2015          Virginia Giuffre          robiejennag@y7mail.com                                             assist with attorney advice.                                        Attorney Client Withheld         2         msg

                                                                                                                           Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
130                                                                                                                        information to assist in providing legal advice.                Work Product     Withheld           26         pdf
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,robiejennag@y7m                                                                      AC Privilege and
131        4/30/2015          Brittany Henderson        eperez@BSFLLP.com              ail.com                         Communication re VRS registrations                                   Work Product     Withheld           1         msg
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,garvin@lclark.edu, Email chain with McCawley, Edwards, Garvin, Henderson,            AC Privilege and
132        4/29/2015          Andres Ortiz              bh699@nova.edu                 robiejennag@y7mail.com             Giuffre and BSF staff re legal advice re VRS communications.      Work Product     Withheld           1         msg
                                                                                       Smccawley@BSFLLP.com,brad@pa
                                                                                       thtojustice.com,garvin@lclark.edu,                                                                   AC Privilege and
133        4/29/2015          brittany henderson        aortiz@BSFLLP.com              robiejennag@y7mail.com             Communication re legal advice re VRS communications.              Work Product     Withheld           1         msg

                                                                          Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                           Privilege                Doc
 ID   Email Sent Date   Email From            Email To                    CC Address                         Subject Matter                                                 Type of Privilege Action      Page Count   Type

                                                                          Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                          @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS           AC Privilege and
134     4/17/2015       Paul Cassell          brad@pathtojustice.com      P.com,robiejennag@y7mail.com    registrations.                                                    Work Product     Withheld         5        msg
                                                                         brittany@pathtojustice.com,eperez Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                              brad@pathtojustice.com,cas @BSFLLP.com,robiejennag@y7mail Henderson, Giuffre and BSF staff re legal advice re VRS             AC Privilege and
135     4/17/2015       Sigrid McCawley       sellp@law.utah.edu         .com                              registrations.                                                   Work Product     Withheld         4        msg

                                                                          Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                          @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS           AC Privilege and
136     4/17/2015       Brad Edwards          cassellp@law.utah.edu       P.com,robiejennag@y7mail.com    registrations.                                                    Work Product     Withheld         4        msg

137     2/26/2015       Sigrid McCawley       robiejennag@y7mail.com                                    Email chain with Giuffre and McCawley re non-testifying expert. Attorney Client       Withheld        1        msg
138     2/26/2015       Sigrid McCawley       robiejennag@y7mail.com                                    Communication re non-testifying expert.                         Attorney Client       Withheld        1        msg
                                                                                                        Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
139     2/11/2016       Sigrid McCawley       robiejennag@y7mail.com                                    staff re media communications.                                  Attorney Client       Redacted        3        msg
                                              StanPottinger@aol.com,robi Lcarlsen@BSFLLP.com,brad@patht Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
140     2/11/2016       Sigrid McCawley       ejennag@y7mail.com         ojustice.com                   staff re media communications.                                  Attorney Client       Redacted        3        msg
                                                                          Lcarlsen@BSFLLP.com,Smccawley
                                                                          @BSFLLP.com,brad@pathtojustice. Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
141     2/11/2016       StanPottinger@aol.com robiejennag@y7mail.com      com                             staff re media communications.                                 Attorney Client      Redacted        3        msg
                                                                                                          Email chain with Giuffre and Pottinger re media
142     2/9/2016        StanPottinger@aol.com robiejennag@y7mail.com                                      communications.                                                Attorney Client      Redacted        2        msg

                                                                                                             Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
143                                                                                                          information to assist in providing legal advice.                Work Product     Withheld       26        pdf

                                                                                                             Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
144                                                                                                          information to assist in providing legal advice.                Work Product     Withheld       23        docx

145     6/10/2015       Virginia Giuffre      robiejennag@y7mail.com                                         Email chain with Giuffre and McCawley re ongoing litigation.   Attorney Client   Withheld        2        msg
                                                                       Smccawley@BSFLLP.com,bh699@n
                                                                       ova.edu,brad@pathtojustice.com,g Email chain with Henderson, McCawey, Edwards, Garvin and
146     4/29/2015       Virginia Giuffre      aortiz@BSFLLP.com        arvin@lclark.edu                 BSF staff re VRS communications.                                    Attorney Client   Withheld        2        msg
                                                                                                        Email chain with Boylan, Giuffre, McCawley, and BSF staff re
147     4/10/2015       Virginia Giuffre      rebecca.boylan@yahoo.com                                  legal advice re VRS registrations.                                  Attorney Client   Withheld        2        msg
148     2/26/2015       Virginia Giuffre      Smccawley@BSFLLP.com                                      Email confirming legal advice re non-testifying expert.             Attorney Client   Withheld        1        msg


                                                               Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                          Privilege                  Doc
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                                                                                                                       Email chain with Giuffre and Pottinger re media
149        2/11/2015          Virginia Giuffre           StanPottinger@aol.com                                         communications                                                      Attorney Client   Redacted         3         msg
                                                                                                                       Email chain with Giuffre, McCawley, Pottinger and BSF staff re
150        2/11/2015          Virginia Giuffre           Smccawley@BSFLLP.com                                          media communications.                                               Attorney Client   Redacted         3         msg

                                                                                                                                                                                           AC Privilege and
151        1/13/2015          Virginia Giuffre           StanPottinger@aol.com                                         Email chain with Pottinger and Giuffre re anticipated litigation.   Work Product     Withheld          1         msg

                                                                                                                       Plaintiff has objected that Defendant’s requests are overly
                                                                                                                       broad and unduly burdensome, as individually logging all
                                                                                                                       privileged responsive documents would be overly
                                                                                                                       burdensome. Plaintiff contends that requests targeting
                                                                                                                       such privileged information are not reasonably calculated
                                                                                                                       to lead to the discovery of admissible evidence, are not
                                                                                                                       important to resolving the issues, are not relevant to any
                                                                                                                       party’s claim or defense, are not proportional to the
                                                                                                                       needs of the case, and creates a heavy burden on Plaintiff
                                                                                                                       that outweighs its benefit. Therefore, Plaintiff has
                                                                                                                       employed categorical logging pursuant to Local Civil Rule
                                                                                                                       26.2(c). This categorical entry is regarding correspondence
                                                                                                                       re potential legal action against entities and individuals.
                             Virginia Giuffre, Brad                                                                    Documents withheld pursuant to the privileges asserted
                             Edwards, Paul Cassell,      Virginia Giuffre, Brad                                        included communications from Ms. Giuffre to the
                             Brittany Henderson,         Edwards, Paul Cassell,                                        attorneys listed seeking legal advice related to potential
                             Sigrid McCawley,            Brittany Henderson, Sigrid                                    law suits, communications from the attorneys to Ms.
                             Meredith Schultz, David     McCawley, Meredith
                                                                                                                       Giuffre giving legal advice or giving attorney mental
                             Boies, Stephen Zach,        Schultz, David Boies,
                                                                                                                       impressions related to the law suits, communications
                             Stan Pottinger, Ellen       Stephen Zach, Stan
                             Brockman, Legal             Pottinger, Ellen Brockman,                                    sending or attaching attorney work product related to       AC Privilege and
        Emails, letters, and Assistants, Professionals   Legal Assistants,                                             potential lawsuits, and/or communications sending or        Work                                  Approx. 1.3K
      other communications retained by attorneys to      Professionals retained by                                     attaching client revisions to attorney work product related Product/joint                         overlapping
       from January 2015 - aid in the rendition of       attorneys to aid in the                                       to potential lawsuits, and communications re evidence.      defense/commo                          with other
152          Present         legal advice                rendition of legal advice                                                                                                         n interest        Withheld       cases




                                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
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Log                                                                                                                                                                                                    Privilege                 Doc
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                                                                                                                    Plaintiff has objected that Defendant’s requests are overly
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                                                                                                                    such privileged information are not reasonably calculated
                                                                                                                    to lead to the discovery of admissible evidence, are not
                                                                                                                    important to resolving the issues, are not relevant to any
                                                                                                                    party’s claim or defense, are not proportional to the
                                                                                                                    needs of the case, and creates a heavy burden on Plaintiff
                         The law enforcement                                                                        that outweighs its benefit. Therefore, Plaintiff has
                         entity, Virginia Giuffre,   The law enforcement entity,                                    employed categorical logging pursuant to Local Civil Rule
                         David Boies, Stan           Virginia Giuffre, David Boies,                                 26.2(c). This categorical entry is regarding correspondence
                         Pottinger, Sigrid           Stan Pottinger, Sigrid
                                                                                                                    re the currently ongoing criminal investigation of
      Email and letter   McCawley, Paul Cassell,     McCawley, Paul Cassell, Brad                                                                                                                                   approx. 57
                                                                                                                    Defendant and others.
153   communications     Brad Edwards                Edwards                                                                                                                         Public Interest   Withheld     documents

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
154     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
155     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
156     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg




                                                                        Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
